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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     David                                                            Leandra
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Glenn                                                            Margaret
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Hodge                                                            Hodge
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                       Leandra Margaret Byrne
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6449                                                      xxx-xx-6599
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   David Glenn Hodge
Debtor 2   Leandra Margaret Hodge                                                                     Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 190 Logan Lane
                                 Lexington, NC 27292
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Davidson
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    David Glenn Hodge
Debtor 2    Leandra Margaret Hodge                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    David Glenn Hodge
Debtor 2    Leandra Margaret Hodge                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    David Glenn Hodge
Debtor 2    Leandra Margaret Hodge                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    David Glenn Hodge
Debtor 2    Leandra Margaret Hodge                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ David Glenn Hodge                                             /s/ Leandra Margaret Hodge
                                 David Glenn Hodge                                                 Leandra Margaret Hodge
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 10, 2016                                      Executed on     May 10, 2016
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   David Glenn Hodge
Debtor 2   Leandra Margaret Hodge                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Christopher Avery                                              Date         May 10, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Christopher Avery
                                Printed name

                                The Law Offices of John T. Orcutt, PC
                                Firm name

                                6616-203 Six Forks Road
                                Raleigh, NC 27615
                                Number, Street, City, State & ZIP Code

                                Contact phone     (919) 847-9750                             Email address         postlegal@johnorcutt.com
                                44190
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                  David Glenn Hodge
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Leandra Margaret Hodge
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $16,726.30           Wages, commissions,                           $0.00
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
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 Debtor 1      David Glenn Hodge
 Debtor 2      Leandra Margaret Hodge                                                                      Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                              Wages, commissions,                       $51,921.76            Wages, commissions,            $5,557.09
 (January 1 to December 31, 2015 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $36,357.81            Wages, commissions,          $15,467.54
 (January 1 to December 31, 2014 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until                                                                  $0.00       Child Support                      $1,489.96
 the date you filed for bankruptcy:

 For last calendar year:                                                                               $0.00       Child Support                      $3,300.00
 (January 1 to December 31, 2015 )


                                                                                                       $0.00       Unemployment                       $2,250.00

 For the calendar year before that:                                                                    $0.00       Child Support                      $3,300.00
 (January 1 to December 31, 2014 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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 Debtor 1      David Glenn Hodge
 Debtor 2      Leandra Margaret Hodge                                                                      Case number (if known)


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       BB&T Mortgage***                                         2/11/2016                       $2,280.00          $75,775.37         Mortgage
       Attn: Managing Agent                                     3/14/2016                                                             Car
       Post Office Box 2027                                     4/7/2016
                                                                                                                                      Credit Card
       Greenville, SC 29602
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       BB&T *******                                             2/11/2016                         $625.00          $13,326.28         Mortgage
       Attn: Bankruptcy Managing Agent                          3/7/2016                                                              Car
       Post Office Box 1847                                     4/7/2016
                                                                                                                                      Credit Card
       Wilson, NC 27894
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Piedmont Advantage Credit Union                          3/2/2016                        $1,062.87          $17,030.47         Mortgage
       3530 Advantage Way                                       3/23/2016                                                             Car
       Winston Salem, NC 27103                                  4/19/2016
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       BB&T *******                                             3/1/2016                          $636.00            $7,241.47        Mortgage
       Attn: Bankruptcy Managing Agent                          3/10/2016                                                             Car
       Post Office Box 1847                                     4/8/2016
                                                                                                                                      Credit Card
       Wilson, NC 27894
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




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 Debtor 2      Leandra Margaret Hodge                                                                      Case number (if known)


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       North Carolina Dept. of Revenue**                        Tax Refund                                                    3/2016                         $428.00
       Post Office Box 1168
       Raleigh, NC 27602-1168                                        Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.

                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or           Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                   closed, sold,       before closing or
       Code)                                                                                                               moved, or                    transfer
                                                                                                                           transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David Glenn Hodge                                                   /s/ Leandra Margaret Hodge
 David Glenn Hodge                                                       Leandra Margaret Hodge
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     May 10, 2016                                                   Date     May 10, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:

 Debtor 1                    David Glenn Hodge
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Leandra Margaret Hodge
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number                                                                                                                                                        Check if this is an
                                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        190 Logan Lane                                                                 Single-family home                            Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                           the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                    Current value of the       Current value of the
        Lexington                         NC        27292-0000                         Land                                         entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                                 $136,550.00                 $136,550.00
                                                                                       Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                       Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one       a life estate), if known.
                                                                                       Debtor 1 only                                 Tenancy by the Entirety
        Davidson                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                       At least one of the debtors and another           (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Valuation Method (Sch. A & B) : Tax Value


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                         $136,550.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                      page 1
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Chevrolet                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Blazer                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1989                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                158,176                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: 1GNCT18Z8K0183106
         Progressive Insurance:                                      Check if this is community property                                $1,000.00                  $1,000.00
         514610507                                                   (see instructions)

         Client Value


  3.2    Make:       Chevrolet                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Silverado                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                  94,142                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: 2GCEK19J971674812
         Progressive Insurance:                                      Check if this is community property                              $13,387.50                 $13,387.50
         514610507                                                   (see instructions)

         90% Clean Retail


  3.3    Make:       Kia                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sephia                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1998                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                218,825                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: KNAFB1212W5728282
         Progressive Insurance:                                      Check if this is community property                                $1,386.00                  $1,386.00
         514610507                                                   (see instructions)

         90% Clean Retail


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,773.50


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods                                                                                                                 $2,110.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics                                                                                                    $425.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Wearing Apparel                                                                                                $600.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry                                                                                                          $75.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                    Possible Consumer Rights Claim(s).
                                    Unless otherwise specified, no specific claims are known at
                                    present.                                                                                                           $0.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,210.00


 Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
Official Form 106A/B                                   Schedule A/B: Property                                                                        page 3
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                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash                                   $40.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking and
                                              17.1.       Savings                                 BB&T                                                                        $82.11


                                                          Checking and
                                              17.2.       Savings                                 WoodForest Bank                                                           $200.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


Official Form 106A/B                                                                       Schedule A/B: Property                                                               page 4
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25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2015 Tax Refund
                                                             Federal: $ 2,294.00
                                                             State: $428.00 (Offset)
                                                             *Accounted for in Banking Account
                                                             Balances*                                       Federal and State                          $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         Child Support Arrears
                                                                                                             Child Support                      $43,764.02


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No

Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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 Debtor 2        Leandra Margaret Hodge                                                                                          Case number (if known)

        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................   $44,086.13


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                             .IMPORTANT NOTICES:

                                             (1) Valuation Method (Sch. A & B): FMV unless otherwise noted.

                                             (2) Creditor claims disclosed on Sch. D, E & F are estimates only,
                                             drawn largely from unverified information provided by the creditor,
                                             and shall not be considered an admission by the Debtor(s) of the
                                             amount owed, interest, late fees, etc. Nor is this listing of a creditor
                                             or representatives an admission by the Debtor(s) that such parties are
                                             actual owners of such claims.                                                                                                $0.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                            $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                     page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                                              Case 19-59006                         Doc 1             Filed 05/10/16                     Page 22 of 75
 Debtor 1         David Glenn Hodge
 Debtor 2         Leandra Margaret Hodge                                                                                                Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $136,550.00
 56. Part 2: Total vehicles, line 5                                                                           $15,773.50
 57. Part 3: Total personal and household items, line 15                                                       $3,210.00
 58. Part 4: Total financial assets, line 36                                                                  $44,086.13
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $63,069.63              Copy personal property total       $63,069.63

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $199,619.63




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
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    oedocs


                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                     WINSTON-SALEM DIVISION

 In Re:
 David Glenn Hodge                                                         Case No. _________________________
 Social Security No.: xxx-xx-6449
 Address: 190 Logan Lane, Lexington, NC 27292                                                                   Form 91C (rev. 1/21/14)
                                                                Debtor.

                               DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
The undersigned Debtor hereby claims the following property as exempt pursuant to 11 U.S.C. Sections 522(b)(3)(A),(B), and (C), the North
Carolina General Statues, and non-bankruptcy federal law. Undersigned Debtor is claiming and intends to claim as exempt 100% of Debtor’s
interest in each and every item listed, irrespective of the actual value claimed as exempt.

1. RESIDENCE EXEMPTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
   Each debtor can retain an aggregate interest in such property, not to exceed a total net value of $35,000. (N.C.G.S. § 1C-1601(a)(1) (NC
   Const. Article X, Section 2)(See * below)

        Description of                          Market                Mortgage Holder or             Amount of                      Net
      Property & Address                        Value                    Lien Holder               Mortgage or Lien                 Value

 House and Land:                                $136,550.00     BB&T                                        $75,775.37              $47,448.35
 190 Logan Lane                                                 BB&T                                        $13,326.28
 Lexington, NC 27292
 1/2 Interest


                                                                                              TOTAL NET VALUE:                      $23,724.18

                                                                                   VALUE CLAIMED AS EXEMPT:                         $30,000.00

                                                                              UNUSED AMOUNT OF EXEMPTION:                             $5,000.00

    RESIDENCE EXEMPTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
     Exception to $18,500 limit: An unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in property not
    to exceed $60,000 in net value, so long as: (1) the property was previously owned by the debtor as a tenant by the entireties or as a joint
    tenant with rights of survivorship and (2) the former co-owner of the property is deceased, in which case the debtor must specify his/her age
    and the name of the former co-owner (if a child use initials only) of the property below. (N.C.G.S. § 1C-1601(a)(1) (NC Const. Article X,
    Section 2)(See * below)

        Description of                          Market                Mortgage Holder or             Amount of                      Net
      Property & Address                        Value                    Lien Holder               Mortgage or Lien                 Value


                                                minus 6%



      Debtor's Age:                                                                           TOTAL NET VALUE:

      Name of former co-owner:                                                     VALUE CLAIMED AS EXEMPT:

                                                                              UNUSED AMOUNT OF EXEMPTION:
                                 Case 19-59006            Doc 1      Filed 05/10/16         Page 24 of 75

* Note to all interested parties: Notwithstanding the above, in the event that: (1) this concerns a Chapter 13 case filed within 12 months after the
dismissal of a prior bankruptcy case, and (2) a creditor has, prior to the filing of this case, taken an "action" as that term is defined in In re:
Paschal, 337 B.R. 27 (2006), the debtor(s) do not claim the property as exempt, in which case the above information is provided for the sole
purpose of determining compliance as required by 11 U.S.C. 1325(a)(4).

2. TENANCY BY THE ENTIRETY: All the net value in the following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B)
   and the law of the State of North Carolina pertaining to property held as tenants by the entirety. (No limit on amount or number of
   items.)(See * above which shall also apply with respect to this exemption.)

                                                       Description of Property & Address

 1.                  House and Land: 190 Logan Lane, Lexington, NC 27292

 2.

3. MOTOR VEHICLE EXEMPTION: Each debtor can claim an exemption in only one vehicle, not to exceed $3,500.00 in net value.
   (N.C.G.S. § 1C-1601(a)(3))

      Year, Make, Model, Style
          of Motor Vehicle             Market Value                    Lien Holder                    Amount of Lien              Net Value

 1989 Chevrolet Blazer                        $1,000.00     None                                                    $0.00              $1,000.00


                                                                                                TOTAL NET VALUE:                       $1,000.00

                                                                                    VALUE CLAIMED AS EXEMPT:                           $3,500.00

4. TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS: (Each debtor can retain an aggregate interest, not to exceed
   $2,000.00 in net value.) (N.C.G.S. § 1C-1601(a)(5))

            Description                Market Value                   Lien Holder                    Amount of Lien               Net Value




                                                                                                TOTAL NET VALUE:

                                                                                    VALUE CLAIMED AS EXEMPT:

5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES: Each debtor can retain a total aggregate interest,
   not to exceed $5,000.00 in net value, plus $1000.00 in net value for each dependent of the debtor (not to exceed $4,000 total for dependents.)
   (N.C.G.S. § 1C-1601(a)(4) & NC Const., Article X, Section 1)

      The number of dependents for exemption purposes is:______________

      Description of Property          Market Value                   Lien Holder                    Amount of Lien               Net Value

 Clothing & Personal                                                                                                                     $600.00

 Kitchen Appliances                                                                                                                       $10.00

 Stove                                                                                                                                    $75.00

 Refrigerator                                                                                                                             $75.00

 Freezer                                                                                                                                   $0.00

 Washing Machine                                                                                                                          $50.00

 Dryer                                                                                                                                    $50.00
                             Case 19-59006         Doc 1      Filed 05/10/16       Page 25 of 75
 China                                                                                                                           $0.00

 Silver                                                                                                                          $0.00

 Jewelry                                                                                                                       $75.00

 Living Room Furniture                                                                                                        $250.00

 Den Furniture                                                                                                                   $0.00

 Bedroom Furniture                                                                                                            $500.00

 Dining Room Furniture                                                                                                        $150.00

 Lawn Furniture                                                                                                                $50.00

 Television                                                                                                                   $350.00

 ( ) Stereo ( ) Radio                                                                                                            $0.00

 ( ) VCR ( ) Video Camera                                                                                                        $0.00

 Musical Instruments                                                                                                             $0.00

 ( ) Piano ( ) Organ                                                                                                             $0.00

 Air Conditioner                                                                                                              $100.00

 Paintings or Art                                                                                                                $0.00

 Lawn Mower                                                                                                                   $400.00

 Yard Tools                                                                                                                   $400.00

 Crops                                                                                                                           $0.00

 Recreational Equipment                                                                                                          $0.00

 Computer Equipment                                                                                                            $75.00


                                                                                       TOTAL NET VALUE:                     $3,210.00

                                                                           VALUE CLAIMED AS EXEMPT:                         $5,000.00

6.   LIFE INSURANCE: There is no limit on amount or number of policies. (N.C.G.S. § 1C-1601(a)(6) & NC Const., Article X, Sect. 5)

                                                                             Last 4 Digits                   Beneficiary
          Description & Company                     Insured
                                                                           of Policy Number          (If child, use initials only)



7.   PROFESSIONALLY PRESCRIBED HEALTH AIDS: Debtor or Debtor's Dependents. (No limit on value.) (N.C.G.S. § 1C-1601(a)(7))

 Description



8.   COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY POLICIES
     OR ANNUITIES, OR COMPENSATION FOR THE DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT
     FOR SUPPORT. There is no limit on this exemption. All such amounts are claimed as exempt. (The compensation is not exempt from
     related legal, health or funeral expenses.) (N.C.G.S. § 1C-1601(a)(8))
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                                                                                                                   Last 4 Digits of
              Description                                  Source of Compensation
                                                                                                                 Any Account Number




     The Debtor claims an exemption in any possible consumer rights claim only to the extent that the settlement/award is found by the
     Bankruptcy Court, upon the filing of a Motion for Approval of Settlement/Award and for Allowance of Exemptions and an Amendment to
     this Schedule C, to be in the nature of a personal injury claim, if allowed as exempt under applicable law, or to the extent that it is found
     to be other than a personal injury claim only to the extent of the dollar amount available to the Debtor under another exemption, such as
     the wildcard exemption, under applicable exemptions law. The time within which the trustee may object to the claiming of any exemption
     in this asset, shall be deemed tolled until such time as the Motion and Amendment are filed and served upon the trustee.

9.   INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN TREATED IN
     THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL REVENUE CODE. (N.C.G.S. §
     1C-1601(a)(9)) (No limit on number or amount.). Debtor claims an exemption in all such plans, plus all other RETIREMENT FUNDS
     as defined in 11 U.S.C. Section 522(b)(3)(c).

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE. Total net value not
    to exceed $25,000. If funds were placed in a college savings plan within the 12 months prior to filing, such contributions must have been
    made in the ordinary course of the debtor's financial affairs and must have been consistent with the debtor's past pattern of contributions.
    The exemption applies to funds for a child of the debtor that will actually be used for the child's college or university expenses. (N.C.G.S.
    § 1C-1601(a)(10))

                  College Savings                           Last 4 Digits of                     Initials of
                                                                                                                                   Value
                        Plan                                Account Number                    Child Beneficiary




                                                                                  VALUE CLAIMED AS EXEMPT:

11. RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENT UNITS OF
    OTHER STATES. (The debtor's interest is exempt only to the extent that these benefits are exempt under the law of the State or
    governmental unit under which the benefit plan is established.) (N.C.G.S. § 1C-1601(a)(11))

                                                                                          Last 4 Digits of Identifying
          Name of Retirement Plan                   State or Governmental Unit                                                     Value
                                                                                                   Number




                                                                                  VALUE CLAIMED AS EXEMPT:

12. ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT HAVE BEEN
    RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
    reasonably necessary for the support of the debtor or any dependent of the debtor.) (N.C.G.S. § 1C-1601(a)(12))

                    Type of Support                                             Location of Funds                                 Amount




                                                                                  VALUE CLAIMED AS EXEMPT:

13. WILDCARD EXEMPTION: Each debtor can retain a total aggregate interest in any other property, not to exceed a net value of $5,000.00,
    or the unused portion of the debtor's residence exemption , whichever is less. (N.C.G.S. § 1C-1601(a)(2))
                               Case 19-59006              Doc 1       Filed 05/10/16             Page 27 of 75
        Description of the Property                 Market Value                   Lien Holder          Amount of Lien   Net Value

Any property owned by the debtor(s), not                                                                                    $4,677.89
otherwise claimed as exempt.

    2007 Chevrolet Silverado                            $13,387.50        Piedmont Advantage CU             $16,718.00          $0.00

Cash                                                         $40.00                                                            $40.00

BB&T                                                         $82.11                                                            $82.11
Checking and Savings

Woodforest Bank                                             $200.00                                                           $200.00
Checking and Savings


                                                                                                   TOTAL NET VALUE:         $5,000.00

                                                                                      VALUE CLAIMED AS EXEMPT:              $5,000.00

14. OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

                                                                                                                         Amount
Aid to the Aged, Disabled and Families with Dependent Children N.C.G.S. § 108A-36

Aid to the Blind N.C.G.S. § 111-18

Yearly Allowance of Surviving Spouse N.C.G.S. § 30-15

North Carolina Local Government Employees Retirement Benefits N.C.G.S. § 128-31

North Carolina Teachers and State Employee Retirement Benefits N.C.G.S. § 135-9

Fireman's and Rescue Workers' Pensions N.C.G.S. § 58-86-90

Workers Compensation Benefits N.C.G.S. § 97-21

Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed
N.C.G.S. § 96-17

Group Insurance Proceeds N.C.G.S. § 58-58-165

Partnership Property, except on a claim against the partnership N.C.G.S. § 59-55

Wages of Debtor necessary for the support of family N.C.G.S. § 1-362


                                                                                      VALUE CLAIMED AS EXEMPT:

15. EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

                                                                                                                         Amount
Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060

Social Security Benefits 42 U.S.C. § 407

Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717

Wages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 11108 &11109
Civil Service Retirement Benefits 5 U.S.C. § 8346

Longshoremen and Harbor Workers Compensation Act death and disability benefits 33 U.S.C. § 916
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 Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m

 Veteran benefits 38 U.S.C. § 5301

 Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562


                                                                                    VALUE CLAIMED AS EXEMPT:


                                     UNSWORN DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned Debtor, declares under penalty of perjury that I have read the foregoing document, consisting of 14 paragraphs on consecutive
pages, and that they are true and correct to the best of my knowledge, information and belief.


Dated: May 10, 2016


                                                                             s/ David Glenn Hodge
                                                                            David Glenn Hodge
                                 Case 19-59006                Doc 1    Filed 05/10/16      Page 29 of 75
                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                     WINSTON-SALEM DIVISION

 In Re:
 Leandra Margaret Hodge                                                    Case No. _________________________
 Social Security No.: xxx-xx-6599
 Address: 190 Logan Lane, Lexington, NC 27292
                                                                                                              Form 91C (rev. 1/21/14)

                                                                Debtor.


                               DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
The undersigned Debtor hereby claims the following property as exempt pursuant to 11 U.S.C. Sections 522(b)(3)(A),(B), and (C), the
North Carolina General Statues, and non-bankruptcy federal law. Undersigned Debtor is claiming and intends to claim as exempt 100% of
Debtor’s interest in each and every item listed, irrespective of the actual value claimed as exempt.

1. RESIDENCE EXEMPTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
   Each debtor can retain an aggregate interest in such property, not to exceed a total net value of $35,000. (N.C.G.S. § 1C-1601(a)(1)
   (NC Const. Article X, Section 2)(See * below)

        Description of                          Market                Mortgage Holder or           Amount of                      Net
      Property & Address                        Value                    Lien Holder             Mortgage or Lien                 Value

 House and Land:                                $136,550.00     BB&T                                     $75,775.37               $47,448.35
 190 Logan Lane                                                 BB&T                                     $13,326.28
 Lexington, NC 27292
 1/2 Interest


                                                                                             TOTAL NET VALUE:                     $23,724.18

                                                                                   VALUE CLAIMED AS EXEMPT:                       $30,000.00

                                                                              UNUSED AMOUNT OF EXEMPTION:                           $5,000.00

   RESIDENCE EXEMPTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
    Exception to $18,500 limit: An unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in property
   not to exceed $60,000 in net value, so long as: (1) the property was previously owned by the debtor as a tenant by the entireties or as a
   joint tenant with rights of survivorship and (2) the former co-owner of the property is deceased, in which case the debtor must specify
   his/her age and the name of the former co-owner (if a child use initials only) of the property below. (N.C.G.S. § 1C-1601(a)(1) (NC
   Const. Article X, Section 2)(See * below)

        Description of                          Market                Mortgage Holder or           Amount of                      Net
      Property & Address                        Value                    Lien Holder             Mortgage or Lien                 Value


                                                minus 6%



      Debtor's Age:                                                                          TOTAL NET VALUE:

      Name of former co-owner:                                                     VALUE CLAIMED AS EXEMPT:

                                                                              UNUSED AMOUNT OF EXEMPTION:
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* Note to all interested parties: Notwithstanding the above, in the event that: (1) this concerns a Chapter 13 case filed within 12 months after
the dismissal of a prior bankruptcy case, and (2) a creditor has, prior to the filing of this case, taken an "action" as that term is defined in In
re: Paschal, 337 B.R. 27 (2006), the debtor(s) do not claim the property as exempt, in which case the above information is provided for the
sole purpose of determining compliance as required by 11 U.S.C. 1325(a)(4).


2. TENANCY BY THE ENTIRETY: All the net value in the following property is claimed as exempt pursuant to 11 U.S.C. §
   522(b)(3)(B) and the law of the State of North Carolina pertaining to property held as tenants by the entirety. (No limit on amount or
   number of items.)(See * above which shall also applies with respect to this exemption.)

                                                       Description of Property & Address

 1.                  House and Land: 190 Logan Lane, Lexington, NC 27292

 2.

3. MOTOR VEHICLE EXEMPTION: Each debtor can claim an exemption in only one vehicle, not to exceed $3,500.00 in net value.
   (N.C.G.S. § 1C-1601(a)(3))

      Year, Make, Model, Style
          of Motor Vehicle             Market Value                    Lien Holder                    Amount of Lien              Net Value

 1998 Kia Sephia                              $1,386.00     None                                                    $0.00              $1,386.00


                                                                                                TOTAL NET VALUE:                       $1,386.00

                                                                                    VALUE CLAIMED AS EXEMPT:                           $3,500.00

4. TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS: (Each debtor can retain an aggregate interest, not to exceed
   $2,000.00 in net value.) (N.C.G.S. § 1C-1601(a)(5))

            Description                Market Value                   Lien Holder                    Amount of Lien               Net Value




                                                                                                TOTAL NET VALUE:

                                                                                    VALUE CLAIMED AS EXEMPT:

5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES: Each debtor can retain a total aggregate
   interest, not to exceed $5,000.00 in net value, plus $1000.00 in net value for each dependent of the debtor (not to exceed $4,000 total for
   dependents.) (N.C.G.S. § 1C-1601(a)(4) & NC Const., Article X, Section 1)

      The number of dependents for exemption purposes is:______________

      Description of Property          Market Value                   Lien Holder                    Amount of Lien               Net Value

 Clothing & Personal                                                                                                                     $600.00

 Kitchen Appliances                                                                                                                       $10.00

 Stove                                                                                                                                    $75.00

 Refrigerator                                                                                                                             $75.00

 Freezer                                                                                                                                   $0.00
                             Case 19-59006         Doc 1      Filed 05/10/16       Page 31 of 75
 Washing Machine                                                                                                               $50.00

 Dryer                                                                                                                         $50.00

 China                                                                                                                           $0.00

 Silver                                                                                                                          $0.00

 Jewelry                                                                                                                       $75.00

 Living Room Furniture                                                                                                        $250.00

 Den Furniture                                                                                                                   $0.00

 Bedroom Furniture                                                                                                            $500.00

 Dining Room Furniture                                                                                                        $150.00

 Lawn Furniture                                                                                                                $50.00

 Television                                                                                                                   $350.00

 ( ) Stereo ( ) Radio                                                                                                            $0.00

 ( ) VCR ( ) Video Camera                                                                                                        $0.00

 Musical Instruments                                                                                                             $0.00

 ( ) Piano ( ) Organ                                                                                                             $0.00

 Air Conditioner                                                                                                              $100.00

 Paintings or Art                                                                                                                $0.00

 Lawn Mower                                                                                                                   $400.00

 Yard Tools                                                                                                                   $400.00

 Crops                                                                                                                           $0.00

 Recreational Equipment                                                                                                          $0.00

 Computer Equipment                                                                                                            $75.00


                                                                                       TOTAL NET VALUE:                     $3,210.00

                                                                           VALUE CLAIMED AS EXEMPT:                         $5,000.00

6.   LIFE INSURANCE: There is no limit on amount or number of policies. (N.C.G.S. § 1C-1601(a)(6) & NC Const., Article X, Sect. 5)

                                                                             Last 4 Digits                   Beneficiary
          Description & Company                     Insured
                                                                           of Policy Number          (If child, use initials only)



7.   PROFESSIONALLY PRESCRIBED HEALTH AIDS: Debtor or Debtor's Dependents. (No limit on value.) (N.C.G.S. § 1C-
     1601(a)(7))

 Description



8.   COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY POLICIES
     OR ANNUITIES, OR COMPENSATION FOR THE DEATH OF A PERSON UPON WHOM THE DEBTOR WAS
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     DEPENDENT FOR SUPPORT. There is no limit on this exemption. All such amounts are claimed as exempt. (The compensation is
     not exempt from related legal, health or funeral expenses.) (N.C.G.S. § 1C-1601(a)(8))

                                                                                                                 Last 4 Digits of
              Description                                 Source of Compensation
                                                                                                               Any Account Number




     The Debtor claims an exemption in any possible consumer rights claim only to the extent that the settlement/award is found by the
     Bankruptcy Court, upon the filing of a Motion for Approval of Settlement/Award and for Allowance of Exemptions and an Amendment
     to this Schedule C, to be in the nature of a personal injury claim, if allowed as exempt under applicable law, or to the extent that it is
     found to be other than a personal injury claim only to the extent of the dollar amount available to the Debtor under another exemption,
     such as the wildcard exemption, under applicable exemptions law. The time within which the trustee may object to the claiming of any
     exemption in this asset, shall be deemed tolled until such time as the Motion and Amendment are filed and served upon the trustee.

9.   INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN TREATED
     IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL REVENUE CODE.
     (N.C.G.S. § 1C-1601(a)(9)) (No limit on number or amount.). Debtor claims an exemption in all such plans, plus all other
     RETIREMENT FUNDS as defined in 11 U.S.C. Section 522(b)(3)(c).

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE. Total net value
    not to exceed $25,000. If funds were placed in a college savings plan within the 12 months prior to filing, such contributions must have
    been made in the ordinary course of the debtor's financial affairs and must have been consistent with the debtor's past pattern of
    contributions. The exemption applies to funds for a child of the debtor that will actually be used for the child's college or university
    expenses. (N.C.G.S. § 1C-1601(a)(10))

                  College Savings                          Last 4 Digits of                     Initials of
                                                                                                                                 Value
                        Plan                               Account Number                    Child Beneficiary




                                                                                 VALUE CLAIMED AS EXEMPT:

11. RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENT UNITS OF
    OTHER STATES. (The debtor's interest is exempt only to the extent that these benefits are exempt under the law of the State or
    governmental unit under which the benefit plan is established.) (N.C.G.S. § 1C-1601(a)(11))

                                                                                        Last 4 Digits of Identifying
          Name of Retirement Plan                  State or Governmental Unit                                                    Value
                                                                                                 Number




                                                                                 VALUE CLAIMED AS EXEMPT:

12. ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT HAVE
    BEEN RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or
    funds are reasonably necessary for the support of the debtor or any dependent of the debtor.) (N.C.G.S. § 1C-1601(a)(12))

                    Type of Support                                            Location of Funds                                Amount

 Child Support Arrears                                    N.A                                                                  43,764.02


                                                                                 VALUE CLAIMED AS EXEMPT:                         $43,764.02
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13. WILDCARD EXEMPTION: Each debtor can retain a total aggregate interest in any other property, not to exceed a net value of
    $5,000.00, or the unused portion of the debtor's residence exemption , whichever is less. (N.C.G.S. § 1C-1601(a)(2))

         Description of the Property                 Market Value                   Lien Holder          Amount of Lien   Net Value

 Any property owned by the debtor(s), not                                                                                    $4,717.89
 otherwise claimed as exempt.

     2007 Chevrolet Silverado                            $13,387.50        Piedmont Advantage CU             $16,718.00          $0.00

 BB&T                                                         $82.11                                                            $82.11
 Checking and Savings

 Woodforest Bank                                             $200.00                                                           $200.00
 Checking and Savings


                                                                                                    TOTAL NET VALUE:         $5,000.00

                                                                                       VALUE CLAIMED AS EXEMPT:              $5,000.00

14. OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

                                                                                                                          Amount
 Aid to the Aged, Disabled and Families with Dependent Children N.C.G.S. § 108A-36

 Aid to the Blind N.C.G.S. § 111-18

 Yearly Allowance of Surviving Spouse N.C.G.S. § 30-15

 North Carolina Local Government Employees Retirement Benefits N.C.G.S. § 128-31

 North Carolina Teachers and State Employee Retirement Benefits N.C.G.S. § 135-9

 Fireman's and Rescue Workers' Pensions N.C.G.S. § 58-86-90

 Workers Compensation Benefits N.C.G.S. § 97-21

 Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed
 N.C.G.S. § 96-17

 Group Insurance Proceeds N.C.G.S. § 58-58-165

 Partnership Property, except on a claim against the partnership N.C.G.S. § 59-55

 Wages of Debtor necessary for the support of family N.C.G.S. § 1-362


                                                                                       VALUE CLAIMED AS EXEMPT:

15. EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

                                                                                                                          Amount
 Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060

 Social Security Benefits 42 U.S.C. § 407

 Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717

 Wages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 11108 &11109
 Civil Service Retirement Benefits 5 U.S.C. § 8346
                               Case 19-59006            Doc 1       Filed 05/10/16        Page 34 of 75
 Longshoremen and Harbor Workers Compensation Act death and disability benefits 33 U.S.C. § 916
 Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m

 Veteran benefits 38 U.S.C. § 5301

 Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562


                                                                                    VALUE CLAIMED AS EXEMPT:


                                     UNSWORN DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned Debtor, declares under penalty of perjury that I have read the foregoing document, consisting of 14 paragraphs on consecutive
pages, and that they are true and correct to the best of my knowledge, information and belief.


Dated: May 10, 2016


                                                                             s/ Leandra Margaret Hodge
                                                                            Leandra Margaret Hodge
                               Case 19-59006             Doc 1      Filed 05/10/16          Page 35 of 75
                                           UNITED STATES BANKRUPTCY COURT
                                      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                               WINSTON-SALEM DIVISION

 In Re:
 David Glenn Hodge and Leandra Margaret Hodge                                     PROPOSED CHAPTER 13 PLAN

 Social Security Nos.: xxx-xx-6449 & xxx-xx-6599                      Case No. __________________________
                                                                      Chapter 13
 Address: 190 Logan Lane, Lexington, NC 27292

                                                         Debtors.

The Debtors propose an initial plan, which is subject to modification, as follows:

This document and the attached CH. 13 PLAN - DEBTS SHEET (MIDDLE) shall, together, constitute the proposed plan; and all
references herein are to corresponding sections of said attached document. The terms and conditions of this proposed plan shall control
and apply except to the extent that they contradict the terms and conditions of the order confirming the Chapter 13 plan entered by this
Court in this case:

1.   Payments to the Trustee: The Debtors propose to pay to the Trustee from future earnings consecutively monthly payments, for
     distribution to creditors after payment of costs of administration. See "PROPOSED PLAN PAYMENT" section for amount of
     monthly payment and the duration. Actual duration will be determined in accordance with the provisions set forth in the Paragraph
     2 below.
2.   Duration of Chapter 13 Plan: at the earlier of, the expiration of the Applicable Commitment Period or the payment to the Trustee
     of a sum sufficient to pay in full: (A) Allowed administrative priority claims, including specifically the Trustee's commissions and
     attorneys' fees and expenses ordered by the Court to be paid to the Debtors' Attorney, (B) Allowed secured claims (including but not
     limited to arrearage claims), excepting those which are scheduled to be paid directly by the Debtors "outside" the plan, (C) Allowed
     unsecured priority claims, (D) Cosign protect consumer debt claims (only where the Debtors propose such treatment), (E) Post-petition
     claims allowed under 11 U.S.C. § 1305, (F) The dividend, if any, required to be paid to non-priority, general unsecured creditors (not
     including priority unsecured creditors) pursuant to 11 U.S.C. § 1325(b)(1)(B), and (G) Any extra amount necessary to satisfy the
     "liquidation test" as set forth in 11 U.S.C. § 1325(a)(4).
3.   Payments made directly to creditors: The Debtors propose to make regular monthly payments directly to the following creditors:
      See "RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN" section. It shall not be considered a violation of the automatic
     stay if, after the bankruptcy filing, a secured creditor sends to the Debtors payment coupon books or monthly payment invoices with
     respect to debts set forth in this section of the plan.
4.   Disbursements by the Trustee: The Debtors propose that the Trustee make the following distributions to creditors holding allowed
     claims, after payment of costs of administration as follows: See "INSIDE PLAN" section. More specifically:
     a. The following secured creditors shall receive their regular monthly contract payment: See "LTD - Retain / DOT on Principal
          Res./Other Long Term Debts" section. At the end of the plan, the Debtors will resume making payments directly to the creditor
          on any such debt not paid in full during the life of the plan.
     b. The following secured creditors shall be paid in full on their arrearage claims over the life of the plan on a pro-rata basis with other
          secured claims (not including LTD claims): See "Arrearage Claims" section.
     c. The following creditors have partially secured and partially unsecured claims. The secured part of the claim shall be paid in full
          over the life of the plan on a pro-rata basis with other secured claims (not including LTD claims): See "STD - Retain/Secured
          Debts (Paid at FMV)" and "Secured Taxes" sections.
     d. The following secured creditors shall be paid in full over the life of the plan on a pro-rata basis with other secured claims (not
          including LTD claims): See "STD - Retain / Secured Debts & 910 Vehicles (Pay 100%)" section.
     e. The following priority claims shall be paid in full by means of deferred payment: See "Unsecured Priority Debts" section.
     f. The following co-signed claims shall be paid in full, plus interest at the contract rate, by means of deferred payments: See "Cosign
          Protect Debts (Pay 100% )" section.
     g. After payment of allowed costs of administration, priority and secured claims, the balance of the funds paid to the Trustee shall
          be paid to allowed, general unsecured, non-priority claims. See "General Unsecured Non-Priority Debts" section.
5.   Property to be surrendered: The Debtors propose to retain all property serving as collateral for secured claims, except for the
     following property, which shall be surrendered to the corresponding secured creditor(s): See "SURRENDER COLLATERAL"
     section. Unless an itemized Proof of Claim for any deficiency is filed within 120 days after confirmation of this plan, said creditor
     shall not receive any further disbursement from the trustee. Any personal property serving as collateral for a secured claim which is
     surrendered, either in the confirmation order or by other court order, which the lien holder does not take possession of within 240
     days of the entry of such order shall be deemed abandoned and said lien cancelled.
6.   Executory contracts: The Debtors propose to assume all executory contracts and leases, except those specifically rejected. See
                               Case 19-59006            Doc 1       Filed 05/10/16         Page 36 of 75
    "REJECTED EXECUTORY CONTRACTS / LEASES" section.
7.  Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the Debtors do not waive,
    release or discharge but rather retain and reserve for themselves and the Chapter 13 Trustee any and all pre-petition claims and any
    and all post-petition claims that they could or might assert against any party or entity arising under or otherwise related to any state
    or federal consumer statute or under state or federal common law including but not limited to fraud, misrepresentation, breach of
    contract, unfair and deceptive acts and practices, retail installment sales act violations, Truth in Lending violations, Home Equity
    Protection Act violations, Real Estate Settlement Protection Act violations, Fair Debt Collection Practices Act violations, Fair Credit
    Reporting Act violations, Equal Credit Opportunity Act violations, Fair Credit Billing Act violations, Consumer Leasing Act violations,
    Federal Garnishment Act violations, Electronic Funds Transfer Act violations, and any and all violations arising out of rights or claims
    provided for by Title 11 of the United States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of this Court.
8. Standing for Consumer Rights Causes of Action: Confirmation of this plan shall vest in the Debtors full and complete standing
    to pursue any and all claims against any parties or entities for all rights and causes of action provided for under or arising out of Title
    11 of the United States Code including but not limited to the right to pursue claims for the recovery of property of this estate by way
    of turnover proceedings, the right to recover pre-petition preferences, the right to pursue automatic stay violations, and the right to
    pursue discharge violations.
9. Termination of Liens: Upon the full payment of a secured party's underlying debt determined under non-bankruptcy law or the
    granting of a discharge pursuant to 11 U.S.C. § 1328, the secured party shall within 10 days after demand and, in any event, within
    30 days, execute a release of its security interest on the property securing said claim. In the case of a motor vehicle, said secured
    creditor shall execute a release on the title thereto in the space provided therefore on the certificate or as the Division of Motor
    Vehicles prescribes, and mail or deliver the certificate and release to the Debtors or the Debtors' Attorney. Confirmation of this plan
    shall impose an affirmative and direct duty on each such secured party to comply with the provision and upon failure to so comply.
    This provision may be enforced in a proceeding filed before the Bankruptcy Court and each such creditor consents to such jurisdiction
    by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by the Debtors in this case either
    before or after the entry of the discharge order and either before or after the closing of this case. The Debtors specifically reserve
    the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and claims provided for herein.
10. Jurisdiction for Non-Core Matters: Confirmation of this plan shall constitute the expressed consent by any party in interest in this
    case, or any one or more of them, including all creditor or other parties duly listed in Schedules D, E, F, G, and H, or any amendments
    thereto, to the referral of a proceeding related to a case under Title 11 of the United States Code to a Bankruptcy Judge to hear and
    determine and to enter appropriate orders and judgments as provided for by 28 U.S.C. § 157(c)(2).
11. Obligations of Mortgagors: Confirmation of this plan shall impose an affirmative duty on the holders of all claims secured by
    mortgages or deeds of trust on real property of this estate to:
    a. Pursuant to 11 U.S.C. § 1326, adequate protection payments shall not be made on allowed secured claims secured by real property
         prior to confirmation. This provision shall not preclude such a claim-holder from requesting additional adequate protection
         pursuant to 11 U.S.C. § 362(d);
    b. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee only to the pre-petition
         arrears provided for in the confirmed plan;
    c. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee, that is to either pre-petition
         interest or pre-petition principal as the case may be;
    d. Apply all post-petition payments received from the Chapter 13 Trustee under the plan as the same is designated by the Trustee,
         to the post-petition mortgage obligations of the Debtors for the actual months for which such payments are designated;
    e. Apply all post-petition payments received directly from the Debtors to the post-petition mortgage obligations due;
    f. Refrain from the practice of imposing late charges when the only delinquency is attributable to the pre-petition arrears included
         in the plan;
    g. Refrain from the imposition of monthly inspection fees or any other type of bankruptcy monitoring fee without prior approval of
         the Bankruptcy Court after notice and hearing;
    h. Refrain from the imposition of any legal or paralegal fees or similar charges incurred following confirmation without prior
         approval of the Bankruptcy Court after notice and hearing;
    i. Pursuant to 12 U.S.C. § 2609, 15 U.S.C. § 1602, and all other applicable state, federal and contractual requirements, promptly
         notify the Debtors, the Debtors' Attorney and the Chapter 13 Trustee of any adjustment in the on-going payments for any reason,
         including, without limitation, changes resulting for Adjustable Rate Mortgages and/or escrow changes. The Debtors specifically
         agree that provision of such notice shall not constitute a violation of 11 U.S.C. § 362;
    j. Pursuant to 11 U.S.C. § 524 and all other applicable state and federal laws, verify, at the request of the Debtors, Debtors' Attorney
         or Chapter 13 Trustee, that the payments received under the confirmed plan were properly applied;
    k. Pursuant to N.C.G.S. § 45-91 and all other applicable state, federal and contractual requirements notify the Debtor, the Debtor's
         Attorney and the Chapter 13 Trustee with notice of the assessment of any fees, charges etc. The Debtors specifically agree that
         provision of such notice shall not constitute a violation of 11 U.S.C. § 362; and
    l. This provision of this plan may be enforced in a proceeding filed before the Bankruptcy Court and each such secured creditor
         consents to such jurisdiction by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by
         the Debtors in this case either before or after the entry of the discharge order and either before or after the closing of this case.
         The Debtors specifically reserve the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and
         claims herein.
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12. Arbitration: Acceptance by creditors of payments under this plan and/or failure of any creditor to file an objection to confirmation
    of the plan herein, constitutes waiver of any right(s) of said creditor(s) to seek enforcement of any arbitration agreement and constitutes
    consent to the removal of any arbitration clause from any type of contract or contracts with the Debtors herein during the pendency
    of this case.
13. Post-petition tax claims: The Debtors' plan shall provide for full payment of any post-petition tax claim filed by the Internal Revenue
    Service which are allowed pursuant to 11 U.S.C. § 1305 (b), unless the Internal Revenue Service, after a good faith consideration of
    the effect such a claim would have on the feasibility of the Debtors' Chapter 13 plan, specifically agrees to a different treatment of
    such claim. However, any future modification of the Debtors' plan to provide for full payment of any allowed post-petition tax claim
    shall only occur after the filing of a motion requesting a modification of the plan to that effect.
14. Offers in Compromise: The Internal Revenue Service shall, pursuant to I.R.C. §7122 (a) (2002) and 11 U.S.C. §§105 and 525 (a),
    and notwithstanding any provisions of the Internal Revenue Manual, consider any properly tendered Offer in Compromise by the
    Debtors. This provision shall not be construed to require the Internal Revenue Service to accept any such Offer in Compromise, but
    the Internal Revenue Service shall consider such Offer in Compromise as if the Debtors were not in an on-going bankruptcy. In the
    event that an Offer in Compromise is accepted by the Internal Revenue Service and any tax obligation is reduced, the Chapter 13
    Trustee shall review the Chapter 13 payment to determine if a reduction in the plan payment is feasible.
15. Adequate Protection Payments: The Debtors propose that all pre-confirmation adequate protection payments be paid as follows:
    a. Not later than 30 days after the date of the order for relief, the Debtors shall commence paying directly to the lessor all payments
         scheduled in a lease of personal property or portion thereof that become due after the said order for relief. Absent a timely
         objection to confirmation of the proposed plan, it shall be presumed that the Debtors have made such payments as required by
         11 U.S.C. § 1326(a)(1)(B) of the Bankruptcy Code.
    b. All pre-confirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(c) payable to a creditor holding an
         allowed claim secured by personal property, to the extent that the claim is attributable to the purchase of such property by the
         Debtors shall be disbursed by the Chapter 13 Trustee.
    c. Each creditor entitled to receive a pre-confirmation adequate protection payment pursuant to 11 U.S.C. § 1326(a)(1)(c) shall be
         paid each month the amount set forth in the column entitled "Adequate Protection". These amounts shall equal 1.00% of the FMV
         of the property securing the corresponding creditor's claim or the monthly amount necessary to amortize the claim (computed at
         the Trustee's interest rate) over the life of the plan, whichever is less.
    d. The principal amount of the adequate protection recipient's claim shall be reduced by the amount of the adequate protection
         payments remitted to the recipient.
    e. All adequate protection payments disbursed by the Chapter 13 Trustee shall be subject to an administrative fee in favor of the
         Trustee equal to the Trustee's statutory percentage commission then in effect, and the Trustee shall collect such fee at the time
         of the distribution of the adequate protection payment to the creditor.
    f. All adequate protection payments disbursed by the Chapter 13 Trustee shall be made in the ordinary course of the Trustee's
         business from funds in this case as they become available for distribution.
    g. No adequate protection payment to a creditor who is listed in the plan as a secured creditor shall be required until a proof of claim
         is filed by such creditor which complies with Rule 3001 of the Federal Rules of Bankruptcy Procedure.
    h. The Trustee shall not be required to make pre-confirmation adequate protection payments on account of any claim in which the
         collateral for such claim is listed in the plan as having a value of less than $2,000.00.
    i. The names, addresses and account numbers for each secured creditor entitled to receive a pre-confirmation adequate protection
         payment as set forth on Schedule D filed in this case are incorporated herein, as if set forth herein at length.
    j. Adequate protection payments shall continue until all unpaid Debtors' Attorney's fees are paid in full.
16. Interest on Secured Claims:
    a. Arrearage: No interest shall accrue on any arrearage claim.
    b. Secured Debts Paid at FMV: The lesser of Trustee's interest rate (set pursuant to In re Till) and the contract interest rate.
    c. Secured Debts Paid in Full:
         i. Regarding "910 vehicle" claims: Pursuant to 11 U.S.C. §1322, interest only to the extent that the value , as of the effective
             date of the plan (hereinafter the “Time Value”), of the motor vehicle exceeds the amount of the claim. The Time Value shall
             be the total of the payments to amortize the FMV of the motor vehicle, defined as 90% of the N.A.D.A. Retail, at the Trustee’s
             interest rate over the total length of the Chapter 13 plan.
         ii. All other secured claims: The lesser of the Trustee’s interest rate and the contract interest rate.
17. Debtors' Attorney’s Fees: In the event that the Trustee has, at the time of Confirmation, funds in excess of any amounts necessary
    to make adequate protection payments to holders of allowed secured claims for personal property, specifically excluding payments
    for real property due between the filing of the petition and Confirmation, all such funds shall be paid towards unpaid Debtors'
    Attorney’s fees.
18. Non-Vesting: Property of the estate shall NOT re-vest in the Debtors upon confirmation of the Chapter 13 plan.
19. Real Estate Taxes Real estate taxes that are paid by the Debtors through an escrow account as part of any direct mortgage payment,
    or as part of a conduit payment made by the Trustee, shall continue to be paid by the Debtors through such escrow account and shall
    be disbursed by the servicer from such escrow account. They shall not be made separately by the Trustee.
20. Transfer of Mortgage Servicing: Pursuant to 12 U.S.C. § 2605(f), in the event that the mortgage servicing for any of the Debtors'
    mortgages is transferred during this case, notice of such transfer of service shall be provided to the Debtors, the Debtors' Attorney
    and the Chapter 13 Trustee within thirty (30) days. Such notice shall include the identity of the new servicer, the address and a
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     toll-free telephone number for the new servicer, instructions on whom to contact with authority regarding such servicing, and the
     location where the transfer of mortgage servicing is recorded.
21. 401K Loans: Upon payment in full of a 401K plan loan, the Debtors shall increase Debtors' 401K plan contributions by an amount
     equal to the amount that was being paid on said 401K loan.
22. Non-Disclosure of Personal Information: Pursuant to NCGS 75-66 and other state and federal laws, the Debtors object to the
     disclosure of any personal information by any party, including without limitations, all creditors listed in the schedules filed in this case.
23. Student Loans: Pursuant to 11 U.S.C. 1322(b)(3), all defaults in any and all student loans shall be waived.
24. Other provisions of plan (if any): See "OTHER PROVISIONS" section.
                                                                Definitions
LTD:          Long Term Debt and refers to both: (1) Debts which cannot be modified due to 11 U.S.C. § 1322(b)(2), and (2) Debts where
              modification in the plan will not result in a payment lower than the contract payment.
STD:          Short Term Debt and refers to debts where the months left on the contract are less than or equal to 60 months.
Retain:       Means the Debtors intend to retain possession and/or ownership of the collateral securing a debt.
910:          Means and refers to the purchase money security interest portion of a claim secured by a motor vehicle, where the motor
              vehicle was acquired within 910 days before the filing of the bankruptcy case for the personal use of the Debtors.
Sch D #: References the number of the secured debt as listed on Schedule D.
Int. Rate: Means Interest Rate to be paid a secured claim.

Dated: May 10, 2016
                                                                              s/ David Glenn Hodge
                                                                             David Glenn Hodge

                                                                              s/ Leandra Margaret Hodge
                                                                             Leandra Margaret Hodge
(rev. 2/15/16)
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                               UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                   WINSTON-SALEM DIVISION

 In Re:
 David Glenn Hodge and Leandra Margaret                           Case No. _________________________
 Hodge
                                                                  Chapter 13
 Social Security Nos.: xxx-xx-6449 & xxx-xx-6599

 Address: 190 Logan Lane, Lexington, NC 27292


                                                     Debtors.



                                       Below Median Income
                                   Disposable Income Calculation
 CMI Income                                                       Schedule I Income
 (Before Marital Adjustment)                         $ 5,353.10   Minus                          $ 3,700.03
  (Form 22C-1, line 11)                                           Schedule I Expenses
                                                                  (Sch. I, line 12)
 Minus

    Child Support received
                                                           0.00
    (1st column) (Sch. I, line 8c)

    Child Support received
                                                           0.00
    (2nd column) (Sch. I, line 8c)

    Schedule I expenses
                                                       1,426.24
    (1st column)(Sch. I, line 6)

    Schedule I expenses
                                                           0.00
    (2nd column)(Sch. I, line 6)

    Schedule J expenses
    (Not including proposed plan                                  Schedule J expenses
                                                       2,240.03
    payment as expense                                            (Not including proposed
    (Sch. J, line 23b)                                                                             2,240.03
                                                                  plan payment as expense)
    Plan payment (Averaged over                                   (Sch. J, line 23b)
                                                       1,749.00
    36 months)

 Equals Means Test                                                Equals Actual Disposable
                                                       $ -62.17                                   $1,460.00
 Derived Disposable Income:                                       Income: (Sch. J, line 23c)
(edocs rev. 3/14/16)
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                CH. 13 PLAN - DEBTS SHEET                                                                  Date:       3/6/16
               (MIDDLE DISTRICT - DESARDI VERSION)                                                 Lastname-SS#:       Hodge-6449
              RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN                                                     SURRENDER COLLATERAL

                     Creditor Name            Sch D #    Description of Collateral                  Creditor Name                     Description of Collateral

                                                Ca
 Retain




           ARREARAGE CLAIMS                                                                        REJECTED EXECUTORY CONTRACTS/LEASES
                                                           Arrearage
                     Creditor Name            Sch D #                      (See †)                  Creditor Name                     Description of Collateral
                                                            Amount
                                                                              **                             All Arbitration Provisions
                                                                              **
                                                                              **
 Retain




                                                                              **
                                                                              **
             BB&T 1st Mortgage                               $747             **
             BB&T HELOC                                      $210             **
                                                                              **
                                                                              **

           LTD - DOT ON PRINCIPAL RESIDENCE & OTHER LONG TERM DEBTS
                                                            Monthly                      Adequate              Minimum
                     Creditor Name            Sch D #                   Int. Rate                                                     Description of Collateral
                                                        Contract Amount                  Protection          Equal Payment
             BB&T 1st Mortgage                               $747         N/A                n/a                 $747.00            House and land
 Retain




             BB&T HELOC                                      $210            N/A             n/a                 $210.00            House and land
                                                                             N/A             n/a
                                                                             N/A             n/a

          STD - SECURED DEBTS @ FMV
                                                                                         Adequate              Minimum
                     Creditor Name            Sch D #        FMV          Int. Rate                                                   Description of Collateral
                                                                                         Protection          Equal Payment
                                                                             5.50
 Retain




                                                                             5.50
                                                                             5.50
                                                                             5.50

          STD - SECURED DEBTS @ 100%
                                                            Payoff                       Adequate              Minimum
                     Creditor Name            Sch D #                     Int. Rate                                                   Description of Collateral
                                                            Amount                       Protection          Equal Payment
             Piedmont Advantage CU                          $16,718          5.50           $134                 $393.13            2007 Chevrolet Silverado
 Retain




                                                                             5.50
                                                                             5.50
                                                                             5.50
                                                                             5.50

 ATTORNEY FEE (Unpaid part)                                 Amount                   PROPOSED CHAPTER 13 PLAN PAYMENT
     Law Offices of John T. Orcutt, P.C.                    $4,500             $         1,145                per month for            1           months, then
 SECURED TAXES                                            Secured Amt
     IRS Tax Liens
     Real Property Taxes on Retained Realty
                                                                               $         1,460                per month for           59           months.


 UNSECURED PRIORITY DEBTS                                   Amount                                   Adequate Protection Payment Period
     IRS Taxes                                                                        Adequate Protection payments shall              months or until the attorney
     State Taxes                                                                            continue for approximately:       17      fee is paid.

     Personal Property Taxes                                                Codes:
     Alimony or Child Support Arrearage                      $300           Sch D # = The number of the secued debt as listed on Schedule D.
CO-SIGN PROTECT (Pay 100%)                    Int.%       Payoff Amt        Adequate Protection = Monthly 'Adequate Protection' payment amt.
 All Co-Sign Protect Debts (See*)                                           † = May include up to 3 post-petition payments.
GENERAL NON-PRIORITY UNSECURED                           Amount**           * Co-sign protect on all debts so designated on the filed schedules.

                   DMI=        None($0)                    None($0)         ** = Greater of DMI x ACP or EAE                            (Page 4 of 4)
                                                                              Ch13Plan_MD_(Install_Pay_NEWFilingFee) (6/11/15) © LOJTO
 Other Miscellaneous Provisions
Plan to allow for 3 "waivers".
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 Fill in this information to identify your case:

 Debtor 1                   David Glenn Hodge
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Leandra Margaret Hodge
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BB&T                                     Describe the property that secures the claim:                 $13,326.28              $136,550.00                     $0.00
         Creditor's Name                          190 Logan Lane Lexington, NC
                                                  27292 Davidson County
                                                  Valuation Method (Sch. A & B) : Tax
         Bankcard Service Center                  Value
                                                  As of the date you file, the claim is: Check all that
         Post Office Box 698                      apply.
         Wilson, NC 27894-0698                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    2nd Deed of Trust
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6001

 2.2     BB&T Mortgage***                         Describe the property that secures the claim:                 $75,775.37              $136,550.00                     $0.00
         Creditor's Name                          190 Logan Lane Lexington, NC
                                                  27292 Davidson County
                                                  Valuation Method (Sch. A & B) : Tax
         Attn: Managing Agent                     Value
                                                  As of the date you file, the claim is: Check all that
         Post Office Box 2027                     apply.
         Greenville, SC 29602                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)    1st Deed of Trust
       community debt


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 David Glenn Hodge                                                                                   Case number (if know)
               First Name                  Middle Name                      Last Name
 Debtor 2 Leandra Margaret Hodge
               First Name                  Middle Name                      Last Name


 Date debt was incurred                                      Last 4 digits of account number         3094

         Piedmont Advantage
 2.3                                                                                                                 $16,718.00                 $13,387.50            $3,330.50
         Credit Union                               Describe the property that secures the claim:
         Creditor's Name                            2007 Chevrolet Silverado 94,142
                                                    miles
                                                    VIN: 2GCEK19J971674812
                                                    Progressive Insurance: 514610507
         3810 North Liberty Street                  90% Clean Retail
                                                    As of the date you file, the claim is: Check all that
         Winston Salem, NC                          apply.
         27105                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)    Purchase Money Security Interest
       community debt

 Date debt was incurred          6/6/2014                    Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $105,819.65
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $105,819.65

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Freddie Mac
          8200 Jones Branch Dr                                                                        Last 4 digits of account number
          Mc Lean, VA 22102-3100




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     David Glenn Hodge
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Leandra Margaret Hodge
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Commonwealth of Virginia                               Last 4 digits of account number                            $303.00              $303.00                 $0.00
              Priority Creditor's Name
              Child Support Enforcement                              When was the debt incurred?
              730 East Broad Stree, Room 423
              Richmond, VA 23219
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Child Support




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                             Case number (if know)

 2.2        Internal Revenue Service (MD)**                          Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Post Office Box 7346                                     When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Purposes Only

 2.3        Law Offices of John T. Orcutt                            Last 4 digits of account number                         $4,500.00              $4,500.00                    $0.00
            Priority Creditor's Name
            6616-203 Six Forks Road                                  When was the debt incurred?
            Raleigh, NC 27615
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

            No                                                          Other. Specify   Administrative Expenses
            Yes


 2.4        North Carolina Dept. of Revenue**                        Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Post Office Box 1168                                     When was the debt incurred?
            Raleigh, NC 27602-1168
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Notice Purposes Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.1      .IMPORTANT NOTICE:                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          See notice re: creditor claims set                         When was the debt incurred?
          forth on Schedule A
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2      AT&T Mobility *******                                      Last 4 digits of account number       4233                                                $406.13
          Nonpriority Creditor's Name
          c/o Bankruptcy                                             When was the debt incurred?
          1801 Valley View Lane
          Dallas, TX 75234
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Service Rendered
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.3      BB&T *******                                               Last 4 digits of account number       1713                                             $7,241.47
          Nonpriority Creditor's Name
          Attn: Bankruptcy Managing Agent                            When was the debt incurred?
          Post Office Box 1847
          Wilson, NC 27894
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.4      Chase                                                      Last 4 digits of account number       3134                                             $3,124.45
          Nonpriority Creditor's Name
          Post Office Box 15153                                      When was the debt incurred?
          Wilmington, DE 19886-5153
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.5      Chase                                                      Last 4 digits of account number       4785                                             $1,462.89
          Nonpriority Creditor's Name
          Post Office Box 15153                                      When was the debt incurred?
          Wilmington, DE 19886-5153
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.6      DIRECTV **                                                 Last 4 digits of account number                                                           $255.42
          Nonpriority Creditor's Name
          ATTN: Bankruptcies                                         When was the debt incurred?
          Post Office Box 6550
          Greenwood Village, CO 80155-6550
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Services Rendered
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.7      Discover **                                                Last 4 digits of account number       2048                                             $7,254.77
          Nonpriority Creditor's Name
          Post Office Box 30943                                      When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.8      Discover **                                                Last 4 digits of account number       0769                                           $11,480.11
          Nonpriority Creditor's Name
          Post Office Box 30943                                      When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.9      Firestone***                                               Last 4 digits of account number       3507                                                $245.68
          Nonpriority Creditor's Name
          c/o Credit First                                           When was the debt incurred?
          Post Office Box 81315
          Cleveland, OH 44181-0315
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.1
 0        Medical Revenue Services                                   Last 4 digits of account number       7231                                             $1,335.11
          Nonpriority Creditor's Name
          1374 S. Babcock Street                                     When was the debt incurred?
          Melbourne, FL 32901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Medical Bill
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.1
 1        NMG Rheumatology and Associates                            Last 4 digits of account number       1143                                                $525.20
          Nonpriority Creditor's Name
          Post Office Box 1629                                       When was the debt incurred?
          Maryland Heights, MO 63043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Medical Bill
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.1      North Carolina Department of
 2        Commer                                                     Last 4 digits of account number       6449                                                $337.82
          Nonpriority Creditor's Name
          Division of Employment Security                            When was the debt incurred?
          PO BOX 25903
          Raleigh, NC 27611
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Overpayment
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.1
 3        Novant**                                                   Last 4 digits of account number       4376                                                $941.11
          Nonpriority Creditor's Name
          PO Box 602584                                              When was the debt incurred?
          Charlotte, NC 28260-2584
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 10
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 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.1
 4        Sears **                                                   Last 4 digits of account number       1491                                             $1,493.74
          Nonpriority Creditor's Name
          Post Office Box 6283                                       When was the debt incurred?
          Sioux Falls, SD 57117-6283
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.1
 5        Sears **                                                   Last 4 digits of account number       1875                                             $5,268.70
          Nonpriority Creditor's Name
          P.O. Box 6282                                              When was the debt incurred?
          Sioux Falls, SD 57117-6276
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.1
 6        Synchrony Bank- American Eagle                             Last 4 digits of account number       8230                                             $6,145.74
          Nonpriority Creditor's Name
          Post Office Box 965060                                     When was the debt incurred?
          Orlando, FL 32896-5060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 10
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                                         Case 19-59006                   Doc 1           Filed 05/10/16              Page 51 of 75
 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 4.1
 7         Synchrony Bank- Walmart                                   Last 4 digits of account number       1150                                                     $2,784.58
           Nonpriority Creditor's Name
           Post Office Box 965060                                    When was the debt incurred?
           Orlando, FL 32896-5060
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit Card Purchases
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED


 4.1
 8         Wake Forest Baptist Health                                Last 4 digits of account number       4867                                                     $1,883.53
           Nonpriority Creditor's Name
           PO BOX 751727                                             When was the debt incurred?
           Charlotte, NC 28275
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Medical Bill
                                                                                          Disputed re: amt, int, fees, ownership, etc.
              Yes                                                       Other. Specify    NOT ADMITTED

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Advanced Call Center Technologies                             Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Post Office Box 9091                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Gray, TN 37615-9091
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Boulevard                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Collecto, Inc.                                                Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 700 Longwater Drive                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Norwell, MA 02061
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 9 of 10
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                                        Case 19-59006                    Doc 1         Filed 05/10/16                Page 52 of 75
 Debtor 1 David Glenn Hodge
 Debtor 2 Leandra Margaret Hodge                                                                          Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services                                                   Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Post Office Box 3855                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77253
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Medicredit Corporation **                                     Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 411187                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63141-3187
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NC Department of Justice                                      Line 2.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 for NC Department of Revenue                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Post Office Box 629
 Raleigh, NC 27602-0629
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Honorable Loretta Lynch                                   Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 U.S. Department of Justice                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 950 Pennsylvania Ave. NW
 Washington, DC 20530-0001
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                        303.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                     4,500.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     4,803.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    52,186.45

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    52,186.45




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 10 of 10
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                          Case 19-59006                     Doc 1      Filed 05/10/16       Page 53 of 75
 Fill in this information to identify your case:

 Debtor 1                  David Glenn Hodge
                           First Name                         Middle Name                Last Name

 Debtor 2                  Leandra Margaret Hodge
 (Spouse if, filing)       First Name                         Middle Name                Last Name


 United States Bankruptcy Court for the:               MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                        State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                            Case 19-59006                       Doc 1    Filed 05/10/16      Page 54 of 75
 Fill in this information to identify your case:

 Debtor 1                   David Glenn Hodge
                            First Name                            Middle Name               Last Name

 Debtor 2                   Leandra Margaret Hodge
 (Spouse if, filing)        First Name                            Middle Name               Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                              Check all schedules that apply:

    3.1                                                                                                       Schedule D, line
                Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                Number             Street
                City                                      State                              ZIP Code




    3.2                                                                                                       Schedule D, line
                Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                Number             Street
                City                                      State                              ZIP Code




Official Form 106H                                                                      Schedule H: Your Codebtors                                 Page 1 of 1
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                                      Case 19-59006            Doc 1     Filed 05/10/16            Page 55 of 75



Fill in this information to identify your case:

Debtor 1                      David Glenn Hodge

Debtor 2                      Leandra Margaret Hodge
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF NORTH CAROLINA (NC
                                              EXEMPTIONS)

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                  Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                    Not employed                              Not employed
       employers.
                                             Occupation            Roofer                                     Unemployed since 5/2015
       Include part-time, seasonal, or
       self-employed work.                                         Simon Roofing and Sheet
                                             Employer's name       Metal
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   70 Karago Avenue
                                                                   Youngstown, OH 44512

                                             How long employed there?         1 YEra

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        4,652.94     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,652.94           $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
                                 Case 19-59006              Doc 1       Filed 05/10/16                Page 56 of 75


Debtor 1    David Glenn Hodge
Debtor 2    Leandra Margaret Hodge                                                                Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,652.94       $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,116.71       $                 0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $                 0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $                 0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $                 0.00
      5e.   Insurance                                                                      5e.        $        309.53       $                 0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00       $                 0.00
      5g.   Union dues                                                                     5g.        $          0.00       $                 0.00
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $                 0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,426.24       $                 0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,226.70       $                 0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                 0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $            275.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $              0.00
      8e. Social Security                                                                  8e.        $              0.00   $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                     0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                     0.00
      8h. Other monthly income. Specify: Reimbursment                                      8h.+ $              198.33 + $                     0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            198.33       $            275.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,425.03 + $          275.00 = $           3,700.03
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          3,700.03
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
                                    Case 19-59006                Doc 1             Filed 05/10/16          Page 57 of 75



Fill in this information to identify your case:

Debtor 1                 David Glenn Hodge                                                                   Check if this is:
                                                                                                                 An amended filing
Debtor 2                 Leandra Margaret Hodge                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF NORTH CAROLINA (NC                                        MM / DD / YYYY
                                          EXEMPTIONS)

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for     Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............      Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                               Son-Unemployed                                            No
      dependents names.                                                              seeking employment                   18                   Yes
                                                                                     Daughter - Unemployed                                     No
                                                                                     seeking employment                   23                   Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                       4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                                 0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                              page 1
                                  Case 19-59006                 Doc 1          Filed 05/10/16              Page 58 of 75


Debtor 1     David Glenn Hodge
Debtor 2     Leandra Margaret Hodge                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               250.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                29.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cell Phone                                                                         6d.   $                               109.41
             Internet                                                                                              $                                49.72
             Home Phone                                                                                            $                                12.34
7.    Food and housekeeping supplies                                                           7.                  $                               700.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               200.00
10.   Personal care products and services                                                    10.                   $                                25.00
11.   Medical and dental expenses                                                            11.                   $                               140.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 175.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 300.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  108.83
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property Taxes                                                       16. $                                                  10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Expenses                                                        21. +$                                                 98.00
      Emergency/Miscellaneous                                                                     +$                                                32.73
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     2,240.03
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     2,240.03
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,700.03
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,240.03

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,460.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                            Case 19-59006                       Doc 1           Filed 05/10/16                    Page 59 of 75
 Fill in this information to identify your case:

 Debtor 1                   David Glenn Hodge
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Leandra Margaret Hodge
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             136,550.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              63,069.63

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             199,619.63

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             105,819.65

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                4,803.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              52,186.45


                                                                                                                                     Your total liabilities $               162,809.10


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,700.03

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,240.03

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      David Glenn Hodge
 Debtor 2      Leandra Margaret Hodge                                                     Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $       5,353.10


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $             303.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 303.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    David Glenn Hodge
                             First Name                     Middle Name             Last Name

 Debtor 2                    Leandra Margaret Hodge
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ David Glenn Hodge                                                     X   /s/ Leandra Margaret Hodge
              David Glenn Hodge                                                         Leandra Margaret Hodge
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       May 10, 2016                                                   Date    May 10, 2016




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                    Middle District of North Carolina (NC Exemptions)
             David Glenn Hodge
 In re       Leandra Margaret Hodge                                                                           Case No.
                                                                              Debtor(s)                       Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,500.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  4,500.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning, Means Test planning, and other items if specifically included in attorney/client fee contract
                 or required by Bankruptcy Court local rule.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding, and any other items excluded in attorney/client fee contract or excluded by
               Bankruptcy Court local rule.

                   Fee also collected, where applicable, include such things as: Pacer access: $10 per case, Credit Reports: $10
                   each, Judgment Search: $10 each, Credit Counseling Certification: Usually $34 per case, Financial Management
                   Class Certification: Usually $8 each, Use of computers for Credit Counseling briefing or Financial Managment
                   Class: $10 per session, or paralegal typing assistance regarding credit counseling briefing: $75 per session.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 10, 2016                                                             /s/ Christopher Avery
     Date                                                                     Christopher Avery
                                                                              Signature of Attorney
                                                                              The Law Offices of John T. Orcutt, PC
                                                                              6616-203 Six Forks Road
                                                                              Raleigh, NC 27615
                                                                              (919) 847-9750 Fax: (919) 847-3439
                                                                              postlegal@johnorcutt.com
                                                                              Name of law firm



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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              David Glenn Hodge                                                                       According to the calculations required by this
                                                                                                               Statement:
 Debtor 2              Leandra Margaret Hodge                                                                        1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
                                                    Middle District of North Carolina (NC                            2. Disposable income is determined under 11
 United States Bankruptcy Court for the:            Exemptions)                                                         U.S.C. § 1325(b)(3).

 Case number
 (if known)                                                                                                          3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            4,652.94       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                            $              0.00      $            275.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                              Debtor 1
        Gross receipts (before all deductions)                           $       0.00
        Ordinary and necessary operating expenses                       -$       0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                  0.00      $               0.00
  6. Net income from rental and other real property                   Debtor 1
        Gross receipts (before all deductions)                          $      0.00
        Ordinary and necessary operating expenses                       -$       0.00
        Net monthly income from rental or other real property           $        0.00 Copy here -> $                  0.00      $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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 Debtor 1     David Glenn Hodge
 Debtor 2     Leandra Margaret Hodge                                                                             Case number (if known)



                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                       0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Reimbursed Expenses                                                                        $              198.33         $           0.00
                  1/12 Tax Refund                                                                            $              226.83         $           0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         5,078.10           +   $        275.00    =    $      5,353.10

                                                                                                                                                               Total average
                                                                                                                                                               monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                             $          5,353.10
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                     0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                      $          5,353.10

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                       $          5,353.10

                Multiply line 15a by 12 (the number of months in a year).                                                                                      x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................             $         64,237.20




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                  page 2
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 Debtor 1     David Glenn Hodge
 Debtor 2     Leandra Margaret Hodge                                                             Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             NC

       16b. Fill in the number of people in your household.                  4
       16c. Fill in the median family income for your state and size of household.                                                       $     69,810.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $                  5,353.10
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $          5,353.10


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      5,353.10

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     64,237.20




       20c. Copy the median family income for your state and size of household from line 16c                                             $     69,810.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 3
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 Debtor 1    David Glenn Hodge
 Debtor 2    Leandra Margaret Hodge                                                              Case number (if known)




 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ David Glenn Hodge                                                      X /s/ Leandra Margaret Hodge
        David Glenn Hodge                                                            Leandra Margaret Hodge
        Signature of Debtor 1                                                        Signature of Debtor 2
       Date May 10, 2016                                                             Date May 10, 2016
            MM / DD / YYYY                                                                MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 4
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          North Carolina Employment Security
          Commission
          Post Office Box 26504
          Raleigh, NC 27611


          NC Child Support
          Centralized Collections
          Post Office Box 900006
          Raleigh, NC 27675-9006


          Equifax Information Systems LLC
          P.O. Box 740241
          Atlanta, GA 30374-0241


          Experian
          P.O. Box 2002
          Allen, TX 75013-2002


          Trans Union Corporation
          P.O. Box 2000
          Crum Lynne, PA 19022-2000


          Internal Revenue Service (MD)**
          Post Office Box 7346
          Philadelphia, PA 19101-7346


          US Attorney's Office (MD)**
          101 S. Edgeworth Street, 4th floor
          Greensboro, NC 27401


          Advanced Call Center Technologies
          Post Office Box 9091
          Gray, TN 37615-9091


          AT&T Mobility *******
          c/o Bankruptcy
          1801 Valley View Lane
          Dallas, TX 75234


          BB&T
          Bankcard Service Center
          Post Office Box 698
          Wilson, NC 27894-0698
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      BB&T *******
      Attn: Bankruptcy Managing Agent
      Post Office Box 1847
      Wilson, NC 27894


      BB&T Mortgage***
      Attn: Managing Agent
      Post Office Box 2027
      Greenville, SC 29602


      Chase
      Post Office Box 15153
      Wilmington, DE 19886-5153


      Chase
      Post Office Box 15153
      Wilmington, DE 19886-5153


      Client Services, Inc.
      3451 Harry S Truman Boulevard
      Saint Charles, MO 63301-4047


      Collecto, Inc.
      700 Longwater Drive
      Norwell, MA 02061


      Commonwealth of Virginia
      Child Support Enforcement
      730 East Broad Stree, Room 423
      Richmond, VA 23219


      DIRECTV **
      ATTN: Bankruptcies
      Post Office Box 6550
      Greenwood Village, CO 80155-6550


      Discover **
      Post Office Box 30943
      Salt Lake City, UT 84130


      Discover **
      Post Office Box 30943
      Salt Lake City, UT 84130
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      Firestone***
      c/o Credit First
      Post Office Box 81315
      Cleveland, OH 44181-0315


      Freddie Mac
      8200 Jones Branch Dr
      Mc Lean, VA 22102-3100


      GC Services
      Post Office Box 3855
      Houston, TX 77253


      Internal Revenue Service (MD)**
      Post Office Box 7346
      Philadelphia, PA 19101-7346


      Law Offices of John T. Orcutt
      6616-203 Six Forks Road
      Raleigh, NC 27615


      Medical Revenue Services
      1374 S. Babcock Street
      Melbourne, FL 32901


      Medicredit Corporation **
      P.O. Box 411187
      Saint Louis, MO 63141-3187


      NC Department of Justice
      for NC Department of Revenue
      Post Office Box 629
      Raleigh, NC 27602-0629


      NMG Rheumatology and Associates
      Post Office Box 1629
      Maryland Heights, MO 63043


      North Carolina Department of Commer
      Division of Employment Security
      PO BOX 25903
      Raleigh, NC 27611
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      North Carolina Dept. of Revenue**
      Post Office Box 1168
      Raleigh, NC 27602-1168


      Novant**
      PO Box 602584
      Charlotte, NC 28260-2584


      Piedmont Advantage Credit Union
      3810 North Liberty Street
      Winston Salem, NC 27105


      Sears **
      Post Office Box 6283
      Sioux Falls, SD 57117-6283


      Sears **
      P.O. Box 6282
      Sioux Falls, SD 57117-6276


      Synchrony Bank- American Eagle
      Post Office Box 965060
      Orlando, FL 32896-5060


      Synchrony Bank- Walmart
      Post Office Box 965060
      Orlando, FL 32896-5060


      The Honorable Loretta Lynch
      U.S. Department of Justice
      950 Pennsylvania Ave. NW
      Washington, DC 20530-0001


      Wake Forest Baptist Health
      PO BOX 751727
      Charlotte, NC 28275
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                                                               United States Bankruptcy Court
                                                    Middle District of North Carolina (NC Exemptions)
            David Glenn Hodge
 In re      Leandra Margaret Hodge                                                                    Case No.
                                                                                Debtor(s)             Chapter     13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 10, 2016                                                  /s/ David Glenn Hodge
                                                                     David Glenn Hodge
                                                                     Signature of Debtor

 Date: May 10, 2016                                                  /s/ Leandra Margaret Hodge
                                                                     Leandra Margaret Hodge
                                                                     Signature of Debtor




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